Case 1:02-cV-01202-.]DB-tmp Document 48 Filed 05/06/05 Page 1 of 3 Page|D 67

.f~"/'/c
_ ,‘..`LD
IN THE UNITED s'rATEs DISTRICT coURT 5}/\\ nn
FoR THE WESTERN DISTRICT oF TENNESSEE 05ng ~».
EASTERN DIVISIoN “6 p

H .

05 jj j;z,. 2° 4 9
~Efzt’,i»§;;f'? o
CURTIS GREEN, WD. `“FVS b’;§§?£/
_ _ "'"“AC/fso,€"~'
Plamtlff,

V. No. 02-1202-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation.

IT ls So oRDERED this Q><p` day of May, 2005.

/M

J. DANIEL BREEN
NI :`.D STATES DISTRICT JUDGE

 

Tt~lis document entered on the docket sheet in compliance
muth Fiule 58 add/for 79 (a) FHCF’ On

q@

 

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 48 in
case 1:02-CV-01202 Was distributed by faX, rnail, or direct printing on
May 9, 2005 to the parties listed.

 

 

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

J. Mark Tipps

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Robert J. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

JoSeph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Case 1:02-cV-01202-.]DB-tmp Document 48 Filed 05/06/05 Page 3 of 3 Page|D 69

Honorable J. Breen
US DISTRICT COURT

